Case 1:21-cv-04884-FB-JRC Document 45 Filed 04/03/23 Page 1 of 3 PageID #: 233




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------- x

JACK NORTON,
                                                                                 STIPULATION OF
                                                                 Plaintiff,      SETTLEMENT OF
                                                                                 ATTORNEY’S FEES,
                                 -against-                                       EXPENSES, AND COSTS

CITY OF NEW YORK, ET AL.,                                                        21-CV-4884 (FB) (JRC)

                                                              Defendants.

---------------------------------------------------------------------------- x


                 WHEREAS, plaintiff Jack Norton commenced this action by filing a complaint

on or about August 31, 2021, alleging that defendants City of New York, Bill de Blasio, Dermot

Shea, Terence Monahan, Jonathan Warfield, and Bilal Ates violated plaintiff’s federal civil and

state common law rights; and

                 WHEREAS, defendants City of New York, Bill de Blasio, Dermot Shea, Terence

Monahan, and Jonathan Warfield served plaintiff with an Offer of Judgment pursuant to Fed. R.

Civ. P. 68 on September 1, 2022; and

                 WHEREAS, plaintiff accepted defendants City of New York, Bill de Blasio,

Dermot Shea, Terence Monahan, and Jonathan Warfield’s Rule 68 Offer of Judgment on

September 13, 2022; and

                 WHEREAS, all defendants deny any and all liability arising out of plaintiff’s

allegations; and

                 WHEREAS, plaintiff’s counsel represents that plaintiff has assigned all of

plaintiff’s rights to attorneys’ fees, expenses, and costs to plaintiff’s counsel, Cohen&Green

P.L.L.C.; and
Case 1:21-cv-04884-FB-JRC Document 45 Filed 04/03/23 Page 2 of 3 PageID #: 234




               WHEREAS, counsel for defendants City of New York, Bill de Blasio, Dermot

Shea, Terence Monahan, and Jonathan Warfield and counsel for plaintiff now desire to resolve

the issue of attorneys’ fees, expenses, and costs without further proceedings;

               NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

and between the undersigned, the attorneys of record for the respective parties to the above-

captioned action, as follows:

               1.      Defendant City of New York hereby agrees to pay plaintiff’s counsel,

Cohen&Green P.L.L.C. the total sum of Forty-One Thousand ($41,000.00) Dollars in full

satisfaction of plaintiff’s claims for attorneys’ fees, expenses, and costs. In consideration for the

payment of Forty-One Thousand ($41,000.00) Dollars, counsel for plaintiff agrees to release and

discharge defendants City of New York, Bill de Blasio, Dermot Shea, Terence Monahan, and

Jonathan Warfield; their successors or assigns; and all past and present officials, employees,

representatives, and agents of the City of New York or any entity represented by the Office of

the Corporation Counsel, from any and all claims of attorneys’ fees, expenses, and costs that

were or could have been alleged in the aforementioned action.

               2.      Counsel for plaintiff hereby agrees and represents that no other claims for

attorneys’ fees, expenses, or costs arising out of this action shall be made by or on behalf of

plaintiff in any application for attorneys’ fees, expenses, or costs at any time.

               3.      Nothing contained herein shall be deemed to be an admission by the

defendants that they have in any manner or way violated plaintiff’s rights, or the rights of any

other person or entity, as defined in the constitutions, statutes, ordinances, rules or regulations of

the United States, the State of New York, or the City of New York or any other rules or

regulations of any department or subdivision of the City of New York. This stipulation shall not




                                                  2
Case 1:21-cv-04884-FB-JRC Document 45 Filed 04/03/23 Page 3 of 3 PageID #: 235




 be admissible in, nor is it related to, any other litigation or settlement negotiations, except to

 enforce the terms of this agreement.

                   4.        This Stipulation contains all the terms and conditions agreed upon by

 counsel for defendants City of New York, Bill de Blasio, Dermot Shea, Terence Monahan, and

 Jonathan Warfield and counsels for plaintiff hereto, and no oral agreement entered into at any

 time nor any written agreement entered into prior to the execution of this Stipulation regarding

 the subject matter of attorneys’ fees, expenses, or costs shall be deemed to exist, or to bind the

 parties hereto, or to vary the terms and conditions contained herein.



 Dated; New York, New York
             i        ,2023

 C O H E N & G R E E N P. L . L . C .                    H O N . S Y LV I A O . H I N D S - R A D I X
 Attorneys for Plaintiff                                 Corporation Counsel of the
 1639 Centre Street, Suite 216                                 City of New York
 Ridgewood, NY11385                                      Attorney for Defendants City of New York,
 929-888-9457                                               de Blasio, Shea, Monahan, and Warfield
                                                          100 Church Street, 3^^^ Floor
                                                         New York, New York 10007



 By:                                               By:   /s/ Zachary Kalmbach
        Elena Cohen                                       Zachary Kalmbach
       Attorney for Plaintiff                             Assistant Corporation Counsel

 GIDEON ORION OLIVER

 Attorney for Plaintiff
 277 Broadway, Suite 1501
 New York, NY 10007
 646-263-3495




 By:
       Gideon Orion Oliver

       Attorney for Plaintiff




                                                     3
